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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MICHAEL PETRIK, Jr., #177913
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
     TONY ALVAREZ
6
7
                                       UNITED STATES DISTRICT COURT
8
                                     EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                      )    Case No. 2:18-cr-001 MCE
                                                    )
11                              Plaintiff,          )    STIPULATION AND ORDER TO CONTINUE
                                                    )    STATUS CONFERENCE
12           v.                                     )
                                                    )    Date: September 6, 2018
13   TONY ALVAREZ and LIONEL                        )    Time: 10:00 a.m.
     ORNELAS,                                       )    Judge: Hon. Morrison C. England, Jr.
14                                                  )
                                Defendants.         )
15                                                  )
16           The parties stipulate, through respective counsel, that the Court should continue the status
17   conference set on September 6, 2018 to October 18, 2018, at 10:00 a.m.
18           Defense counsel requires additional time to review discovery, to examine possible
19   defenses, and to continue investigating the facts of the case.
20           For these reasons, counsel and the defendants agree that the Court should exclude the
21   time from the date of the parties stipulation through October 18, 2018, when it computes the time
22   within which trial must commence under the Speedy Trial Act, pursuant to 18 U.S.C.
23   §3161(h)(7), and Local Code T4.
24           Counsel and the defendant also agree that the ends of justice served by the Court granting
25   this continuance outweigh the best interests of the public and the defendant in a speedy trial.
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      Stipulation to Continue                           -1-
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1    DATED: September 4, 2018           HEATHER E. WILLIAMS
                                        Federal Defender
2
3                                       /s/ M. Petrik__________
                                        MICHAEL PETRIK, Jr.
4                                       Assistant Federal Defender
                                        Attorney for TONY ALVAREZ
5
     DATED: September 4, 2018
6
7                                       /s/ Tasha Chalfant
                                        TASHA CHALFANT
8                                       Attorney for Defendant LIONEL ORNELAS
9
     DATED: September 4, 2018           MCGREGOR W. SCOTT
10
                                        United States Attorney
11
                                        /s/ Timothy H. Delgado
12                                      TIMOTHY H. DELGDO
                                        Assistant United States Attorney
13                                      Attorney for Plaintiff
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      Stipulation to Continue             -2-
       Case 2:18-cr-00001-KJM Document 36 Filed 09/07/18 Page 3 of 3


1                                                   ORDER
2            The Court, having received, read, and considered the stipulation of the parties, and good
3    cause appearing, adopts the stipulation in its entirety as its order. It specifically finds that the
4    failure to grant a continuance in this case would deny defense counsel reasonable time necessary
5    for effective preparation, taking into account the exercise of due diligence. The Court further
6    finds that the ends of justice served by granting the continuance outweigh the best interests of the
7    public and the defendants in a speedy trial.
8            The Court orders a status conference on October 18, 2018, at10:00 a.m. Time from the
9    date of the parties stipulation, up to and including October 18, 2018, excluded from computation
10   of time within which the trial of this case must commence under the Speedy Trial Act, pursuant
11   to 18 U.S.C. §§3161(h)(7), and Local Code T4.
12           IT IS SO ORDERED.
13   Dated: September 5, 2018
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      Stipulation to Continue                          -3-
